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                                        UNITED STATES DISTRICT COURT
                                        FOR THE DISTRICT OF COLUMBIA


            UNITED STATES OF AMERICA                  :
                                                      :     Case No. 22-CR-96 (CKK)
                         v.                           :
                                                      :
            LAUREN HANDY et al.                       :
                                                      :
                         Defendants.                  :

                                       GOVERNMENT’S TRIAL EXHIBIT LIST

I.    SERIES 1000: VIDEOS
 EXHIBIT          ITEM                  BATES NO.         IDENTIFIED                  ADMITTED
    NO.                                              DATE      WITNESS           DATE     WITNESS
 1001    Clinic Surveillance Video
         Clip                        US-0002239
 1002    Clinic Surveillance Video
         Clip                        US-0002240
 1003    Clinic Surveillance Video
         Clip                        US-0002241
 1004    Clinic Surveillance Video
         Clip                        US-0002242
 1005    Clinic Surveillance Video
         Clip                        US-0002243
 1006    Clinic Surveillance Video
         Clip                        US-0002244
 1007    Clinic Surveillance Video
         Clip                        US-0002245
 1008    Clinic Surveillance Video   US-0002246
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                                                                                                  2


EXHIBIT           ITEM                BATES NO.         IDENTIFIED                  ADMITTED
   NO.                                             DATE      WITNESS           DATE     WITNESS
1009      MPD BWC Video Clip        US-0002247
1010      MPD BWC Video Clip        US-0002248
1011      MPD BWC Video Clip        US-0002249
1012      MPD BWC Video Clip        US-0002250
1013      MPD BWC Video Clip        US-0002251
1014      MPD BWC Video Clip        US-0002252
1015      MPD BWC Video Clip        US-0002253
1016      MPD BWC Video             US-0002254
1017      Darnel Livestream Video
          Clip                      US-0002258
1018      Darnel Livestream Video
          Clip                      US-0002259
1019      Darnel Livestream Video
          Clip                      US-0002260
1020      Darnel Livestream Video
          Clip                      US-0002261
1021      Darnel Livestream Video
          Clip                      US-0002262
1022      Darnel Livestream Video
          Clip                      US-0002263
1023      Darnel Livestream Video
          Clip                      US-0002264
1024      Darnel Livestream Video
          Clip                      US-0002265
1025      Darnel Second
          Livestream Video Clip     US-0002266
1026      Darnel Second
          Livestream Video Clip     US-0002267
1027      Darnel Second
          Livestream Video Clip     US-0002268
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                                                                                                   3


EXHIBIT          ITEM                 BATES NO.          IDENTIFIED                  ADMITTED
   NO.                                              DATE      WITNESS           DATE     WITNESS
1028    Darnel Second
        Livestream Video Clip       US-0002269
1029    Darnel Livestream Video     US-0002270
1030    Darnel Second
        Livestream Video            US-0002271
1031    Darnel Second
        Livestream Video            US-0002932
1032    Darnel and Geraghty
        Second Rescue Video         US-0002933
1033    Darnel and Geraghty
        Second Rescue Video         US-0002934
1034    Darnel Livestream Video     US-0002935
1035    Darnel and Geraghty
        Second Rescue Video         US-0002936
1036    Darnel and Geraghty
        Second Rescue Video         US-0002937
1037    Clinic Surveillance Video
        Clip                        US-0004344
1038    Clinic Surveillance Video
        Clip                        US-0004345
1039    MPD BWC Video               US-0004346
1040    MPD BWC Video               US-0004347
1041    MPD BWC Video               US-0004348
1042    MPD BWC Video               US-0004349
1043    MPD BWC Video               US-0004350
1044    MPD BWC Video               US-0004351
1045    MPD BWC Video               US-0004352
1046    MPD BWC Video               US-0004353
1047    MPD BWC Video               US-0004354
1048    MPD BWC Video               US-0004355
1049    MPD BWC Video               US-0004356
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EXHIBIT           ITEM                BATES NO.         IDENTIFIED                  ADMITTED
   NO.                                             DATE      WITNESS           DATE     WITNESS
1050      MPD BWC Video             US-0004357
1051      MPD BWC Video             US-0004358
1052      MPD BWC Video             US-0004359
1053      MPD BWC Video             US-0004406
1054      Darnel Livestream Video   US-0004407
1055      Darnel Second
          Livestream Video          US-0004408
1056
1057      MPD Interview Room
          Surveillance Video        US-0004410
1058      MPD Interview Room
          Surveillance Video        US-0004411
1059      MPD BWC Video             US-0004412
1060      MPD BWC Video             US-0004413
1061      MPD BWC Video             US-0004414
1062      MPD BWC Video             US-0004415
1063      MPD BWC Video             US-0004416
1064      MPD BWC Video             US-0004417
1065      MPD BWC Video             US-0004418
1066      MPD BWC Video             US-0004419
1067      MPD BWC Video             US-0004420
1068      MPD BWC Video             US-0004440
1069      MPD BWC Video             US-0004441
1070      MPD BWC Video             US-0004442
1071
1072      MPD BWC Video             US-0004450
1073      MPD Interview Room
          Surveillance Video        US-0004451
1074      MPD Interview Room
          Surveillance Video        US-0004452
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EXHIBIT            ITEM                 BATES NO.        IDENTIFIED                  ADMITTED
   NO.                                              DATE      WITNESS           DATE     WITNESS
1075      Clinic Surveillance Video   US-0004453
1076      Clinic Surveillance Video   US-0004454
1077      Clinic Surveillance Video   US-0004455
1078      Clinic Surveillance Video   US-0004456
1079      Clinic Surveillance Video   US-0004457
1080      Clinic Surveillance Video   US-0009671
1081      Clinic Surveillance Video   US-0009670
1082      Clinic Surveillance Video   US-0009669
1083      Clinic Surveillance Video   US-0009668
1084      Clinic Surveillance Video   US-0009667
1085      Video of Chained
          Blockaders                  US-0008270
1086      Video of Nurse’s Ankle      US-0008269
1087      Darnel Second
          Livestream Video Clip       US-0008249
1088      Darnel Second
          Livestream Video Clip       US-0008248
1089      Darnel Second
          Livestream Video Clip       US-0008247
1090      Darnel Second
          Livestream Video Clip       US-0008246
1091      Darnel Second
          Livestream Video            US-0008245
1092      Darnel Livestream Video
          Clip                        US-0008244
1093      Darnel Livestream Video
          Clip                        US-0008243
1094      Darnel Livestream Video
          Clip                        US-0008242
1095      Darnel Livestream Video
          Clip                        US-0008241
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EXHIBIT          ITEM                 BATES NO.          IDENTIFIED                  ADMITTED
   NO.                                              DATE      WITNESS           DATE     WITNESS
1096    Darnel Livestream Video
        Clip                        US-0008240
1097    Darnel Livestream Video
        Clip                        US-0008239
1098    Darnel Livestream Video
        Clip                        US-0008238
1099    Darnel Livestream Video
        Clip                        US-0008237
1100    Darnel Livestream Video     US-0008236
1101    MPD BWC Video Clip          US-0008235
1102    MPD BWC Video Clip          US-0008234
1103    MPD BWC Video Clip          US-0008233
1104    MPD BWC Video Clip          US-0008232
1105    MPD BWC Video Clip          US-0008231
1106    MPD BWC Video Clip          US-0008230
1107    MPD BWC Video Clip          US-0008229
1108    MPD BWC Video               US-0008228
1109    Clinic Surveillance Video
        Clip                        US-0008227
1110    Clinic Surveillance Video
        Clip                        US-0008226
1111    Clinic Surveillance Video
        Clip                        US-0008225
1112    Clinic Surveillance Video
        Clip                        US-0008224
1113    Clinic Surveillance Video
        Clip                        US-0008223
1114    Clinic Surveillance Video
        Clip                        US-0008222
1115    Clinic Surveillance Video
        Clip                        US-0008221
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EXHIBIT          ITEM                  BATES NO.         IDENTIFIED                  ADMITTED
   NO.                                              DATE      WITNESS           DATE     WITNESS
1116    Clinic Surveillance Video    US-0008220
1117    BWC 11/27/2021               US-0009672
1118    Video of ankle
        (Washington Surgi-
        Clinic)                      US-0000006
1119    Video of people in lobby
        (Washington Surgi-
        Clinic)                      US-0000008
1120    Video of protesters inside
        hallway                      US-0000471
1121    Video from car               US-0001360
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II.   SERIES 2000: PHOTOGRAPHS
 EXHIBIT           ITEM                 BATES NO.            IDENTIFIED                    ADMITTED
    NO.                                               DATE        WITNESS         DATE         WITNESS
 2001    PAAU Santangelo Letter
         Photograph                   US-0009088
 2002
 2003    PAAU Santangelo Letter
         Photograph                   US-0009085
 2004    Protest Photograph           US-0009063
 2005    DC Area Anti-Abortion
         Advocacy Facebook
         Photograph                   US-0008681
 2006    Photo of people sitting in
         lobby (Washington
         Surgi-Clinic)                US-0000004
 2007    Photo of ankle
         (Washington Surgi-
         Clinic)                      US-0000005
 2008    Photo of people sitting in
         lobby (Washington
         Surgi-Clinic)                US-0000007
 2009    Photo of people sitting in
         lobby (Washington
         Surgi-Clinic)                US-0000009
 2010    Photo of ankle
         (Washington Surgi-
         Clinic)                      US-0000010
 2011    Photo of ankle
         (Washington Surgi-
         Clinic)                      US-0000011
 2012    Photo of group of people
         meeting in office            US-0003329
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EXHIBIT           ITEM               BATES NO.           IDENTIFIED                  ADMITTED
   NO.                                              DATE      WITNESS           DATE     WITNESS
2013    Photo of group of people
        standing for a group
        photo                      US-0003330
2014    Photo of group of people
        meeting in office          US-0003331
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III.   SERIES 3000: SOCIAL MEDIA
 EXHIBIT         ITEM               BATES NO.          IDENTIFIED                  ADMITTED
    NO.                                           DATE      WITNESS           DATE     WITNESS
 3001    DC Area Anti-Abortion
         Advocacy Facebook Page   US-0002255
 3002    DC Area Anti-Abortion
         Advocacy Facebook Page   US-0002256
 3003    DC Area Anti-Abortion
         Advocacy Facebook Page   US-0002257
 3004    Lauren Handy Facebook
         Page                     US-0002272
 3005    Lauren Handy Facebook
         Page                     US-0002273
 3006    Lauren Handy Facebook
         Page                     US-0002274
 3007    Lauren Handy Facebook
         Page                     US-0002275
 3008    PAAU Press Release       US-0002276
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IV.   SERIES 4000: ELECTRONIC COMMUNICATIONS
EXHIBIT         ITEM               BATES NO.           IDENTIFIED                  ADMITTED
   NO.                                            DATE      WITNESS           DATE     WITNESS
4001    L. Handy Forensic
        Examination             US-0009268
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V.   SERIES 5000: RECORDS
EXHIBIT           ITEM             BATES NO.           IDENTIFIED                  ADMITTED
   NO.                                            DATE      WITNESS           DATE     WITNESS
5001    Herb Geraghty and
        Lauren Handy Cell
        Information              US-0001417
5002    Payment Information      US-0001421
5003    Cell Data                US-0001422
5004    Financial Information    US-0001423
5005    AT&T Records
        Information              US-0001424
5006    AT&T Email               US-0001440
5007    AT&T Cell Records        US-0001441
5008    AT&T Cell Records        US-0001552
5009    AT&T Cell Records        US-0001637
5010    AT&T Cell Records        US-0001639
5011    AT&T Cell Records        US-0001641
5012    AT&T Cell Records        US-0001657
5013    AT&T Cell Records        US-0001670
5014    AT&T Cell Records        US-0001671
5015    AT&T Cell Records        US-0001690
5016    AT&T Cell Records        US-0001692
5017    AT&T Cell Records        US-0001694
5018    AT&T Cell Records        US-0001695
5019    Comcast Records          US-0001698
5020    Comcast Records          US-0001699
5021    Mercy Missions Records   US-0001700
5022    Mercy Missions Records   US-0001701
5023    Mercy Missions Records   US-0001703
5024    Mercy Missions Records   US-0001704
5025    T-Mobile Records         US-0001760
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EXHIBIT           ITEM                BATES NO.         IDENTIFIED                  ADMITTED
   NO.                                             DATE      WITNESS           DATE     WITNESS
5026      T-Mobile Records          US-0001770
5027      T-Mobile Records          US-0001833
5028      Cell Records              US-0001838
5029      Cell Records              US-0001839
5030      USAA Records              US-0001841
5031      Verizon Records           US-0002156
5032      Verizon Records           US-0002167
5033      Verizon Records           US-0002168
5034      Verizon Records           US-0002171
5035      Verizon Records           US-0002172
5036      Verizon Records           US-0002173
5037      Verizon Records           US-0002174
5038      Verizon Records           US-0002175
5039      Verizon Records           US-0002176
5040      Verizon Records           US-0002177
5041      Verizon Records           US-0002178
5042      Verizon Records           US-0002187
5043      Verizon Records           US-0002216
5044      Verizon Records           US-0002227
5045      Verizon Records           US-0002228
5046      Verizon Records           US-0002231
5047      Verizon Records           US-0002232
5048      Verizon Records           US-0002233
5049      Verizon Records           US-0002234
5050      Verizon Records           US-0002235
5051      Verizon Records           US-0002236
5052      Verizon Records           US-0002237
5053      Hazel Jenkins
          Appointment Information   US-0002238
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EXHIBIT          ITEM              BATES NO.           IDENTIFIED                  ADMITTED
   NO.                                            DATE      WITNESS           DATE     WITNESS
5054    Jonathan Darnel Gmail
        Information             US-0002415
5055    Jonathan Darnel Gmail
        Information             US-0002416
5056    Jonathan Darnel Gmail
        Information             US-0002418
5057    Jonathan Darnel Gmail
        Information             US-0002419
5058    Jonathan Darnel Gmail
        Information             US-0002420
5059    Jonathan Darnel Gmail
        Information             US-0002422
5060    Jonathan Darnel Gmail
        Information             US-0002423
5061    Jonathan Darnel Gmail
        Information             US-0002424
5062    Jonathan Darnel Gmail
        Information             US-0002489
5063    Jonathan Darnel
        Facebook Information    US-0002490
5064    Jonathan Darnel
        Facebook Information    US-0002611
5065    Jonathan Darnel
        Facebook Information    US-0002723
5066    Jonathan Darnel
        Facebook Information    US-0002735
5067    Jonathan Darnel
        Facebook Information    US-0002747
5068    Jonathan Darnel
        Facebook Information    US-0002748
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EXHIBIT          ITEM             BATES NO.           IDENTIFIED                  ADMITTED
   NO.                                           DATE      WITNESS           DATE     WITNESS
5069    Jonathan Darnel
        Facebook Information    US-0002755
5070    Jonathan Darnel
        Facebook Information    US-0002757
5071    Jonathan Darnel
        Facebook Information    US-0002783
5072    Jonathan Darnel
        Facebook Information    US-0002786
5073    DC Area Anti-Abortion
        Advocacy Facebook
        Information             US-0002787
5074    DC Area Anti-Abortion
        Advocacy Facebook
        Information             US-0002789
5075    DC Area Anti-Abortion
        Advocacy Facebook
        Information             US-0002793
5076    DC Area Anti-Abortion
        Advocacy Facebook
        Information             US-0002811
5077    DC Area Anti-Abortion
        Advocacy Facebook
        Information             US-0002857
5078    DC Area Anti-Abortion
        Advocacy Facebook
        Information             US-0002861
5079    Lauren Handy Facebook
        Information             US-0002938
5080    Lauren Handy Facebook
        Information             US-0002954
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EXHIBIT          ITEM              BATES NO.           IDENTIFIED                  ADMITTED
   NO.                                            DATE      WITNESS           DATE     WITNESS
5081    Lauren Handy Facebook
        Information              US-0002967
5082    Lauren Handy Facebook
        Information              US-0003012
5083    Lauren Handy Facebook
        Information              US-0003015
5084    Lauren Handy Facebook
        Information              US-0003043
5085    Lauren Handy Facebook
        Information              US-0003047
5086    Lauren Handy Facebook
        Information              US-0003048
5087    Lauren Handy Facebook
        Information              US-0003049
5088    Lauren Handy Facebook
        Information              US-0003056
5089    Lauren Handy Facebook
        Information              US-0003057
5090    Lauren Handy Facebook
        Information              US-0003088
5091    Lauren Handy Facebook
        Information              US-0003116
5092    Verizon Records          US-0004458
5093    Verizon Records          US-0004511
5094    Verizon Records          US-0004637
5095    Verizon Records          US-0004638
5096    Verizon Records          US-0004639
5097    Verizon
        GJ2022030187812
        subpoena return: excel
        sheet                    US-0004641
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EXHIBIT         ITEM                BATES NO.           IDENTIFIED                  ADMITTED
   NO.                                             DATE      WITNESS           DATE     WITNESS
5098    Verizon
        GJ2022030187812
        subpoena return: excel
        sheet                    US-0004642
5099    Verizon
        GJ2022030187812
        subpoena return: excel
        sheet                    US-0004644
5060    Verizon
        GJ2022030187812
        subpoena return: excel
        sheet                    US-0004647
5061    Verizon
        GJ2022030187812
        subpoena return: excel
        sheet                    US-0004648
5062    Verizon
        GJ2022030187812
        subpoena return: excel
        sheet                    US-0004650
5063    Verizon
        GJ2022030187812
        subpoena return: excel
        sheet                    US-0004651
5064    Verizon
        GJ2022030187812
        subpoena return: excel
        sheet                    US-0004653
5065    Verizon
        GJ2022030187812          US-0004654
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EXHIBIT             ITEM                  BATES NO.          IDENTIFIED              ADMITTED
  NO.                                                   DATE      WITNESS       DATE     WITNESS
          subpoena return: excel
          sheet
5066      Verizon
          GJ2022030187812
          subpoena return: excel
          sheet (Caryn Evirs)           US-0004656
5067      Verizon
          GJ2022030187812
          subpoena return: excel
          sheet                         US-0004657
5068      T-Mobile subpoena
          return: subscriber info
          (Terrence Ramsey)             US-0009266
5069      T-Mobile subpoena
          return: subscriber info
          (Anthony B. Handy)            US-0009265
5070      T-Mobile subpoena
          response: subscriber info
          for MSISDN:
          4344209634                    US-0009263
5071      T-Mobile subpoena
          response: subscriber info
          for MSISDN:
          4344209634                    US-0009262
5072      T-Mobile subpoena
          return: subscriber info for
          MSISDN: 2038020787            US-0009253
5073      T-Mobile subpoena
          return: billing period        US-0009245 to
          9/19/20 – 10/18/20            0009252
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EXHIBIT             ITEM             BATES NO.          IDENTIFIED                  ADMITTED
   NO.                                             DATE      WITNESS           DATE     WITNESS
5074    T-Mobile subpoena
        return: billing period     US-0009239 to
        8/19/20 – 9/18/20          0009244
5074    Jail call log & summary
        (Jonathan Darnel)          US-0009137
5075    T-Mobile search warrant
        return: info for MSISDN:
        4344209634                 US-0009073
5076    T-Mobile search warrant
        return: info for MSISDN:
        5167495792                 US-0009072
5077    T-Mobile search warrant
        return: info for MSISDN:
        4344209634                 US-0009071
5078    T-Mobile search warrant    US-0008909 to
        return: info for           0009061
5079    Serving system log         US-0008908
5080    Pen summary                US-0008903 to
                                   0008907
5081      Incoming/outgoing call
          log                      US-0008902
5082      PRTT and geolocation     US-0008821 to
          data                     0008901
5083      Serving system log       US-0008820
5084      Pen summary              US-0008817 to
                                   0008819
5085      Incoming/outgoing call
          log                      US-0008816
5086      PRTT and geolocation     US-0008775 to
          data                     0008815
5087      Serving system log       US-0008774
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EXHIBIT         ITEM                BATES NO.          IDENTIFIED                 ADMITTED
   NO.                                            DATE      WITNESS          DATE     WITNESS
5088    Pen summary               US-0008772 to
                                  0008773
5089    Incoming/outgoing call
        log                       US-0008771
5090    PRTT and geolocation      US-0008693 to
        data                      0008770
5091    Serving system log        US-0008692
5092    Pen summary               US-0008689 to
                                  0008691
5093    Incoming/outgoing call
        log                       US-0008688
5094    Phone records             US-0008687
5095    Phone records             US-0008686
5096    Phone records             US-0008685
5097    Phone records             US-0008684
5098    Google confidential and
        proprietary warning       US-0000475
5099    Google subscriber info
        (Darnel)                  US-0000478
5100    Google confidential and
        proprietary warning       US-0000479
5101    Google Android device
        info                      US-0000485
5102    Darnel email data         US-0000488
5103    Darnel’s Facebook
        information               US-0002493
5104    Darnel’s Facebook
        information               US-0002497
5104    Handy’s Facebook
        information               US-0003017
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VI.   SERIES 6000:      GRAND JURY TRANSCRIPTS
EXHIBIT           ITEM               BATES NO.           IDENTIFIED                  ADMITTED
   NO.                                              DATE      WITNESS           DATE     WITNESS
6001    Testimony of Michael      US-0002313 to
        Biscardi, 3/24/22         0002386
6002    Testimony of Patient A,   US-0002387 to
        6/8/21                    0002409
6003    Testimony of Michael      US-0007690 to
        Biscardi, 10/14/22        0007774
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VII. SERIES 7000: LAW ENFORCEMENT DOCUMENTS
EXHIBIT           ITEM                 BATES NO.         IDENTIFIED                  ADMITTED
   NO.                                              DATE      WITNESS           DATE     WITNESS
7001    FBI receipt for property     US-0000015
7002    Consent to search
        computers                    US-0000016
7003    FBI 302: phone call from
        Clinic Admin B
        (Washington Surgi-
        Clinic)                      US-0000017
7004    FBI 302: spot check
        conducted inside parking
        garage of Clinic             US-0000019
7005    Vehicle registration
        details                      US-0000020
7006    Spot check photo email       US-0000024
7007    FBI 1036: MPD arrest
        report for Jonathan
        Darnel                       US-0000028
7008    MPD arrest packet
        (Darnel)                     US-0000030
7009    MPD offense report           US-0000042
7010    FBI 302: files provided
        by MPD Det Jonathan
        Lauderdale                   US-0000052
7011    FBI 1A/1C cover sheet:
        files and videos of events
        at 2112 F St.                US-0000053
7012    FBI 1087: receipt of 2112
        F St camera footage          US-0000054
7013    FBI receipt of property
        (thumb drive)                US-0000056
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EXHIBIT           ITEM                BATES NO.         IDENTIFIED                  ADMITTED
   NO.                                             DATE      WITNESS           DATE     WITNESS
7014    FBI 302: spot check
        conducted in vicinity of
        The Statesmen apartment
        bldg                        US-0000057
7015    FBI 1087: receipt of
        video footage from MPD
        custodial interviews        US-0000058
7016    FBI 302: Interview of
        Nurse K (Surgi-Clinic)      US-0000060
7017    Agent notes                 US-0000061
7018    FBI 302: information
        provided by security
        director for the National
        Abortion Federation         US-0000062
7019    FBI 1087: image and
        clips provided RE Surgi-
        Clinic                      US-0000063
7020    FBI 302: 1 TB hard drive
        received                    US-0000065
7021    FBI 1004: evidence chain
        of custody                  US-0000066
7022    FBI 1036: victim services
        division documentation
        of services                 US-0000067
7023    FBI 302: Interview of
        Clinic Admin B from
        Surgi-Clinic on 11/9/20     US-0000069
7024    Agent notes (Clinic
        Admin B)                    US-0000072
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EXHIBIT           ITEM               BATES NO.          IDENTIFIED                  ADMITTED
   NO.                                             DATE      WITNESS           DATE     WITNESS
7025    FBI 302: Interview of
        Med. Spec. H (Clinic) on
        11/9/20                    US-0000077
7026    Agent notes (Med. Spec.
        H)                         US-0000079
7027    FBI 302: Interview of
        Nurse K (Clinic) on
        11/9/20                    US-0000081
7028    Agent notes (Nurse K)      US-0000083
7029    FBI 302: arrest of
        Paulette Harlow            US-0000085
7030    FBI Advice of Rights
        form (Harlow)              US-0000086
7031    FBI 1A/1C cover sheet:
        recorded interview of
        Harlow, Smith, Marshall,
        and Hinshaw                US-0000088
7032    FBI 302: arrest of Jean
        Marshall                   US-0000089
7033    FBI Advice of Rights
        form (Marshall)            US-0000090
7034    FBI 302: arrest of John
        Hinshaw                    US-0000092
7035    FBI Advice of Rights
        form (Hinshaw)             US-0000094
7036    FBI 302: arrest of Jay
        Smith                      US-0000096
7037    FBI Advice of Rights
        form (Smith)               US-0000098
7038    FBI 302: Interview of
        [redacted] on 12/16/20     US-0000100
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EXHIBIT            ITEM                  BATES NO.        IDENTIFIED                 ADMITTED
  NO.                                                DATE      WITNESS          DATE     WITNESS
          regarding events
          witnessed at the Clinic on
          10/22/20
7039      Agent notes                  US-0000102
7040      FBI 302: Interview of
          [redacted] RE events he
          witness at the Clinic on
          10/22/20                     US-0000104
7041      Agent notes                  US-0000106
7042      FBI 302: Interview of
          Capital Women’s
          Services Asst. Office
          Mgr.                         US-0000107
7043      Agent notes (Asst. Office
          Mgr.)                        US-0000109
7044      FBI 302: Interview with
          NAF Security Director        US-0000110
7045      Agent notes                  US-0000112
7046      FBI 302: search warrant
          issued                       US-0000116
7047      FBI 302: interview with
          [redacted] on 12/11/20
          RE events that took place
          at the Surgi-Clinic on
          10/22/20                     US-0000117
7048      Agent notes                  US-0000119
7049      FBI 1036: document
          CLETS request                US-0000120
7050      Email with attached CA
          DL results for Handy         US-0000121
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EXHIBIT           ITEM               BATES NO.         IDENTIFIED                  ADMITTED
   NO.                                            DATE      WITNESS           DATE     WITNESS
7051    Registered vehicles
        (Handy)                    US-0000123
7052    FBI 1057: convert 1D1 to
        1A                         US-0000142
7053    FBI 1A/1C cover sheet:
        thumb drive containing
        footage from 2112 F St     US-0000143
7054    FBI 302: arrest of Joan
        Bell by MPD                US-0000146
7055    Agent notes (Bell)         US-0000148
7056    FBI Advice of Rights
        (Bell)                     US-0000149
7057    FBI 1057: Red Rose
        Rescue anti abortion
        event                      US-0000150
7058    MCPD incident report –
        disorderly conduct at
        protest                    US-0000156
7059    MCPD incident report –
        disorderly conduct at
        protest                    US-0000161
7060    FBI 1036: confidential
        human source reporting
        document                   US-0000166
7061    FBI 1023: CHS reporting
        document RE Red Rose
        Rescue event               US-0000167
7062    FBI 302: arrest of
        William Goodman            US-0000168
7063    FBI Advice of Rights
        (Goodman)                  US-0000170
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EXHIBIT           ITEM                BATES NO.         IDENTIFIED                  ADMITTED
   NO.                                             DATE      WITNESS           DATE     WITNESS
7064    Agent notes (Goodman)       US-0000171
7065    FBI 302: arrest of Lauren
        Handy                       US-0000172
7066    Agent notes (Handy)         US-0000174
7067    FBI Advice of Rights
        (Handy)                     US-0000175
7068    FBI 302: arrest of Ruth
        Heather                     US-0000176
7069    Agent notes (Heather)       US-0000178
7070    FBI Advice of Rights
        (Heather)                   US-0000179
7071    FBI 1087: SW returns
        from Facebook               US-0000180
7072    FBI 1A/1C cover sheet:
        disc containing SW
        returns for Darnel,
        Handy, &
        DCAreaAntiAbortionAd
        vocacy accounts             US-0000183
7073    FBI 302: Agent spoke
        with Patient A’s father
        and mother                  US-0000185
7074    FBI 1036: to document
        SW return                   US-0000186
7075    Facebook SW return 20-
        SC-3431                     US-0000187
7076    Facebook SW return 20-
        SC-3431                     US-0000188
7077    FBI 1057: document
        planned interview of
        Patient A                   US-0000189
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EXHIBIT           ITEM                BATES NO.         IDENTIFIED                  ADMITTED
   NO.                                             DATE      WITNESS           DATE     WITNESS
7078    FBI 1036: document
        return of property to
        Surgi-Clinic                US-0000191
7079    FBI 1A/1C cover sheet:
        Serial 44                   US-0000192
7080    FBI receipt for property
        (Clinic Admin B)            US-0000193
7081    FBI 1057: surveillance of
        Patient A’s resience        US-0000205
7082    FBI 302: Interview of
        Patient A on 5/26/21        US-0000207
7083    Agent notes (Patient A)     US-0000212
7084    FBI 1057: document the
        return of evidence 1B3 to
        Surgi-Clinic                US-0000218
7085    FBI evidence chain of
        custody                     US-0000219
7086    FBI 302: Interview of
        Patient A on 6/8/21         US-0000220
7087    Agent notes                 US-0000222
7088    Joshua Borchert driver’s
        license and criminal
        history                     US-0000251
7089    FBI 1036: NCIC results
        for Handy                   US-0000262
7090    NCIC results for Handy      US-0000263
7091    FBI 302: Interview with
        Nurse K (Surgi-Clinic)
        on 9/13/21                  US-0000275
7092    Agent notes (Nurse K)       US-0000279
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EXHIBIT            ITEM              BATES NO.         IDENTIFIED                  ADMITTED
   NO.                                            DATE      WITNESS           DATE     WITNESS
7093    FBI 302: Interview with
        Med. Spec. H (Surgi-
        Clinic) on 9/13/21         US-0000292
7094    Agent notes                US-0000297
7095    FBI 302: Interview of
        Clinic Admin. B on
        9/20/21                    US-0000303
7096    Agent notes                US-0000306
7097    FBI 302: attempt to
        review DVD containing
        Facebook SW return         US-0000309
7098    FBI 1A/1C cover sheet:
        DVD containing
        Facebook SW return
        (Handy, Darnel, & DC4A
        accounts)                  US-0000310
7099    FBI 302: email from
        AUSA indicating that
        protestors may have
        entered the AWHC           US-0000311
7100    FBI 302: digital copy of   US-0000342
7101    Agent notes                US-0000356
7102    FBI 302: Interview of
        Clinic Admin B (Surgi-
        Clinic) on 12/16/21        US-0000357
7103    Human Life Alliance
        flyer pt 1                 US-0000359
7104    Human Life Alliance
        flyer pt 2                 US-0000360
7105    Agent email containing
        NAF Member Security        US-0000361
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EXHIBIT            ITEM                 BATES NO.        IDENTIFIED                 ADMITTED
  NO.                                               DATE      WITNESS          DATE     WITNESS
          Alert: Two Invasions in
          Washington DC
7106      FBI 1036: document
          updated NCIC results        US-0000364
7107      Updated NCIC results        US-0000365
7108      NCIC results: Jean
          Marshall                    US-0000391
7109      NCIC results: Joan Bell     US-0000394
7110      NCIC results: John
          Hinshaw                     US-0000433
7111      NCIC results: Jonathan
          Darnel                      US-0000440
7112      NCIC results: Lauren
          Handy                       US-0000455
7113      NCIC results: Paula
          Harlow                      US-0000468
7114      FBI 302: Google 2703(d)
          returns received for
          Darnel                      US-0000472
7115      21-sc-1516 Sealed Filing    US-0000553
7116      21-sc-1516 Sealed Filing    US-0000557
7117      Google response letter to
          agent                       US-0000558
7118      FBI import form: arrest
          reports for Handy           US-0000562
7119      Email Re Handy’s 2018
          arrest at Surgi-Clinic      US-0000563
7120      MDP arrest info: Handy      US-0000568
7121      Email RE arrest packets     US-0000587
7122      MPD arrest info: Handy      US-0000593
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EXHIBIT           ITEM               BATES NO.          IDENTIFIED                  ADMITTED
   NO.                                             DATE      WITNESS           DATE     WITNESS
7123    Email attaching 3 arrest
        reports                    US-0000612
7124    MPD arrest info: Handy     US-0000616
7125    MPD arrest info: Handy     US-0000690
7126    MPD arrest info: Handy     US-0000708
7127    FBI 1036: document
        email from FBI USPP
        TFO                        US-0000748
7128    Email from agent RE
        Handy’s arrest history     US-0000749
7129    Arrest info: Handy (DC
        Superior Court)            US-0000752
7130    FBI 1036: document
        updated NCIC, Accurint,
        & VA DMV queries           US-0000753
7131    Criminal record report
        (Heather Idoni)            US-0000755
7131    Criminal record report
        (Jean Marshall)            US-0000808
7132    Criminal record report
        (Joan Bell)                US-0000850
7133    Criminal record report
        (John Hinshaw)             US-0000876
7134    Criminal record report
        (Jonathan Darnel)          US-0000898
7135    Criminal record report
        (Juanito Pichardo)         US-0000941
7136    Criminal record report
        (Lauren Handy)             US-0000962
7137    Criminal record report
        (Paula Harlow)             US-0000996
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EXHIBIT           ITEM               BATES NO.         IDENTIFIED                  ADMITTED
   NO.                                            DATE      WITNESS           DATE     WITNESS
7138                               US-0001042
7139    Email RE CH/WW WI
        DMV – William
        Goodman                    US-0001240
7140    NCIC info                  US-0001241
7141    FBI WFO message RE
        NCIC and VA DMV
        Queries                    US-0001255
7142    NCIC info: Heather Idoni   US-0001257
7143    NCIC info: Jean Marshall   US-0001268
7144    NCIC info: Joan Bell       US-0001271
7145    NCIC info: John
        Hinshaw                    US-0001312
7146    NCIC info: Jonathan
        Darnel                     US-0001320
7147    NCIC info: Juanito
        Pichardo                   US-0001331
7148    NCIC info: Lauren
        Handy                      US-0001339
7149    NCIC info: Paula Harlow    US-0001353
7150    FBI 302: surveillance
        conducted @ 5556 16th St   US-0001356
7151    NLETS response             US-0001357
7152
7153    FBI 1036: document
        receipt of emails
        regarding Handy            US-0001361
7154    Email Re Security Alert:
        “Red Rose” Invasion        US-0001367
7155    FBI 1036: document VA
        DMV info                   US-0001388
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EXHIBIT           ITEM                BATES NO.         IDENTIFIED                  ADMITTED
   NO.                                             DATE      WITNESS           DATE     WITNESS
7156    Email from agent RE VA
        Tags and DL info            US-0001389
7157    Vehicle Registration of
        Anthony Handy and
        Holly Handy                 US-0001397
7158    MPD CCN#20151272
        Arrest Packets –
        002019718 Idoni Ruth
        Heather                     US-0003161
7159    MPD OTHE-2020-
        007289 CCN20151272 0
        Case Overview dated
        10/22/2020                  US-0003230
7160    Email from Clinic
        Administrator B to
        Jonathan Lauderdale at
        DC Gov re: IMG_1335
        dated 10/22/2020            US-0003253
7161    Notes regarding Lauren
        Handy and FB Live
        Stream and Phone
        Number from DC4A who
        protested against Dr.
        Carhart’s Bethesda Clinic   US-0003256
7162    Facebook Page of “DC
        Area Anti-Abortion
        Advocacy”                   US-0003257
7163    MPD CCN#20151272
        Offense Report              US-0003262
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EXHIBIT           ITEM               BATES NO.         IDENTIFIED                  ADMITTED
   NO.                                            DATE      WITNESS           DATE     WITNESS
7164    MPD Papering Cover
        Sheet re: Heather Ruth
        Idoni                      US-0003332
7165    Printout of NetViewer –
        Event Informaiton
        120200564432 DISGRP
        – Disturbance Group
        (more than 3) at 2112 F
        St NW DC, Suite 400 @
        Clinic dated 10/22/2020    US-0003350
7166    MPD Initial Case
        Resume Investigative
        Services Bureau Criminal
        Investigations Division
        Report with Victim Info
        #1 – Medical Facility      US-0003352
7167    Comprehensive Report:
        Heather Ruth Idoni
        202010221527 dated
        10/22/2020                 US-0003375
7168    MPD Papering Cover
        Sheet re: Jay Smith        US-0003494
7169    Comprehensive Report:
        Juanito Pichardo
        202010221444 dated
        10/22/2020                 US-0003508
7170    Comprehensive Report:
        Jean A. Marshall
        202010221452 dated
        10/22/2020                 US-0003558
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EXHIBIT           ITEM               BATES NO.         IDENTIFIED                  ADMITTED
   NO.                                            DATE      WITNESS           DATE     WITNESS
7171    MPD Papering Cover
        Sheet re: Jean Marshall    US-0003700
7172    Email from Jessi Khan to
        Jonathan Lauderdale DC
        GOV dated 10/22/2020
        re: Khan, Jessica GW
        Hospital Discharge Sheet   US-0003720
7173    GW Patient Report:
        Jessica Lynn Khan MRN:
        GWU4274193
        Medication Special
        Consideration of crutch
        walking and ankle sprain   US-0003721
7174    MPD Papering Cover
        Sheet re: Joan Bell        US-0003723
7175    Comprehensive Report:
        Joan E Bell
        202010221622 dated
        10/22/2020                 US-0003743
7176    MPD Papering Cover
        Sheet re: John Hinshaw     US-0003887
7177    Comprehensive Report:
        John Hinshaw
        202010221454 dated
        10/22/2020                 US-0003901
7178    MPD Papering Cover
        Sheet re: Lauren Handy     US-0003969
7179    Comprehensive Report:
        Lauren B Handy
        202010221625 dated
        10/22/2020                 US-0003985
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EXHIBIT           ITEM                 BATES NO.         IDENTIFIED                  ADMITTED
   NO.                                              DATE      WITNESS           DATE     WITNESS
7180    Facebook Page from
        Lauren Handy of photo of
        traditional lock and block
        rescue                       US-0004074
7181    MPD Papering Cover
        Sheet re: Paulette Harlow    US-0004076
7182    Comprehensive Report:
        Paulette M Harlow
        202010221449 dated
        10/22/2020                   US-0004094
7183    MPD Papering Cover
        Sheet re: William
        Goodman                      US-0004276
7184    LINXNCR/MPDC/MPD
        C prinout by Dane
        County Sheriff’s Office
        on 10/22/2020                US-0004292
7185    Email from AA Front to
        Jonathan Lauderdale of
        DC GOV regarding DC
        Clinic Blockade              US-0004299
7186    MPD Initial Case
        Resume Investigative
        Services Bureau Criminal
        Investigations Division
        Report with Victim Info
        #1 – Medical Facility        US-0004300
7187    MPD Initial Case
        Resume Investigative
        Services Bureau Criminal
        Investigations Division      US-0004322
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EXHIBIT            ITEM                BATES NO.        IDENTIFIED                  ADMITTED
  NO.                                              DATE      WITNESS           DATE     WITNESS
          Report with Victim Info
          #1 – Medical Facility
7188      FBI 302: 10/26/2022 toll
          record analysis on GJ
          subpoena for Jonthan
          Darnel’s cellular
          telephone                  US-0009236
7189      FBI 302: 10/3/2022 jail
          calls between Lauren
          Handy and Herb
          Geraghty                   US-0009235
7190      FBI 302: redacted
          interview 5/16/22          US-0009233
7191      FBI 302: arrest warrant
          for Jonathan Darnel
          4/10/22                    US-0009231
7192      FBI 302: arrest warrant
          for Jay Smith 4/4/22       US-0009229
7193      FBI 302: arrest warrant
          for Jean Marshall 4/4/22   US-0009228
7194      FBI 302: arrest warrant
          for Heather Ruth Idoni
          4/4/22                     US-0009227
7195      FBI 1023: redacted CHS
          Reporting Document         US-0009226
7196      FBI 302: arrest warrant
          for John Hinshaw 4/1/22    US-0009223
7197      USDC-DC 22-cr-00096
          Arrest Warrant of Paula
          Harlow 3/24/22             US-0009216
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EXHIBIT            ITEM                BATES NO.         IDENTIFIED                  ADMITTED
   NO.                                              DATE      WITNESS           DATE     WITNESS
7198    FBI 1057: report on
        clarification on custodial
        interviews conducted on
        10/22/20 dated 3/24/20       US-0009215
7199    FBI 302: redacted report
        1/13/22                      US-0009213
7200    FBI 302: redacted report
        9/21/21                      US-0009209
7201    FBI 302: redacted report
        6/9/21                       US-0009207
7202    FBI 1057: report on
        document the return of
        evidence 1B3 to
        Washington Surgi-Clinic
        6/7/21                       US-0009206
7203    FBI 302: report on Ruth
        Idoni 2/3/21                 US-0009204
7204    FBI 302: report on
        William Louis Goodman
        2/3/21                       US-0009202
7205    FBI 302: report on Joan
        Bell 2/1/21                  US-0009200
7206    Registered Vehicles
        Report for Lauren Handy      US-0009183
7207    FBI 302: redacted patient
        medical information
        1/18/21                      US-0009181
7208    FBI 302: redacted report
        1/9/21                       US-0009179
7209    FBI 302: redacted report
        12/31/20                     US-0009177
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EXHIBIT           ITEM                BATES NO.         IDENTIFIED                  ADMITTED
   NO.                                             DATE      WITNESS           DATE     WITNESS
7210    FBI 302: report on Jay
        Smith 12/11/20              US-0009175
7211    FBI 302: report on John
        Hinshaw 12/11/20            US-0009173
7212    FBI 302: report on Jean
        Marshall 12/11/20           US-0009172
7213    FBI 302: report on
        Paulette Harlow 12/11/20    US-0009171
7214    FBI 302: report on
        western digital 1.5TB
        HDD, Serial
        WMAZA3968838
        11/9/20                     US-0009170
7215    FBI 302: redacted report
        dated 11/3/2                US-0009169
7216    FBI 1087: redacted report
        on receipt of 2112 F St
        NW 1st Floor camera
        footage 10/26/20            US-0009167
7217    FBI 302: report on John
        Harlow 10/26/20             US-0009166
7218    FBI 1087: Evidence
        collected from
        Washington Surgi-Center
        10/22/20                    US-0009163
7219    FBI 302: redacted report
        on GJ subpoena for
        Lauren Handy’s cell
        phone and toll records
        11/28/22                    US-0009161
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EXHIBIT            ITEM                BATES NO.         IDENTIFIED                  ADMITTED
   NO.                                              DATE      WITNESS           DATE     WITNESS
7220    FBI 302: redacted report
        on GJ subpoena for
        Lauren Handy’s cell
        phone and toll records
        11/28/22                     US-0009159
7221    FBI 302: redacted report
        on GJ subpoena for Herb
        Geraghty’s cell phone
        and toll records 10/26/22    US-0009157
7222    FBI 302: redacted report
        on GJ subpoena for Herb
        Geraghty’s cell phone
        and toll records 10/26/22    US-0009156
7223    FBI 1036: redacted report
        on Herb Geraghty
        10/26/22                     US-0009154
7224    FBI 1036: redacted report
        of Herb Geraghty
        10/26/22                     US-0009150
7225    FBI 302: redacted report
        of Herb Geraghty
        10/24/22                     US-0009148
7226    FBI 1057: arrest report of
        Heather Idoni 10/10/22       US-0009147
7227    Facebook post live from
        Red Rose Rescue dated
        6/29                         US-0009138
7228    Drivers Record for Herb
        Geraghty                     US-0009136
7229    FBI 302: jails calls
        between Lauren Handy         US-0009135
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EXHIBIT            ITEM                 BATES NO.        IDENTIFIED                 ADMITTED
  NO.                                               DATE      WITNESS          DATE     WITNESS
          and Herb Geraghty dated
          10/3/22
7230      USDC-DC 22-sw-85
          Search Warrant 7/14/22      US-0009098
7231      FBI 999: redacted report
          dated 6/24/22               US-0009096
7232      FBI 999: redacted report
          dated 6/21/22               US-0009094
7233      Twitter page of ProlifeSF   US-0009089
7234      Webpage of Created
          Equal                       US-0009087
7235      FBI 302: report on
          Jonathan Darnel 4/10/22     US-0008682
7236      USDC-DC 22-cr-00096
          Arrest Warrant of Jay
          Smith 3/24/22 – signed
          by FBI agent 3/30/22        US-0008677
7237      USDC-DC 22-cr-00096
          Arrest Warrant of Jean
          Marshall 3/24/22 –
          signed by FBI agent
          4/4/22                      US-0008676
7238      USDC-DC 22-cr-00096
          Arrest Warrant of John
          Hinshaw 3/24/22 –
          signed by FBI agent on
          4/1/22                      US-0008674
7239      USDC-DC 22-cr-00096
          Arrest Warrant of
          Heather Idoni 3/24/22 –     US-0008672
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EXHIBIT            ITEM                 BATES NO.        IDENTIFIED                  ADMITTED
  NO.                                               DATE      WITNESS           DATE     WITNESS
          signed by FBI agent on
          3/30/22
7240      USDC-DC 22-cr-00096
          Arrest Warrant of
          William Louis Goodman
          3/24/22 – signed by FBI
          agent on 4/1/22             US-0008671
7241      Handwritten notes           US-0008643
7242      FBI 395: Advice of
          Rights                      US-0008641
7243      USDC-DC 22-cr-00096
          Arrest Warrant of Joan
          Bell 3/24/22                US-0008640
7244      FBI 302: arrest report on
          Joan Bell 4/5/22            US-0008638
7245      FBI 302: report on
          Jonathan Darnel 4/5/22      US-0008637
7246      DMV Drivers Record for
          John Hinshaw                US-0008634
7247      DMV Drivers Record for
          Jay Smith                   US-0008629
7248      FBI 1023: redacted CHS
          Reporting Document          US-0008626
7249      FBI 395: Advice of
          Rights                      US-0008622
7250      FBI 302: report on Jay
          Smith 4/4/22                US-0008620
7251      USDC-DC 22-cr-00096
          Arrest Warrant of
          William Louis Goodman
          3/24/22                     US-0008617
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EXHIBIT           ITEM                BATES NO.         IDENTIFIED                  ADMITTED
   NO.                                             DATE      WITNESS           DATE     WITNESS
7252    FBI 302: report on arrest
        of William Goodman
        4/4/22                      US-0008615
7253    USDC-DC 22-cr-00096
        Arrest Warrant of
        Heather Idoni 3/24/22       US-0008613
7254    FBI 302: report on
        Heather Idoni 4/4/22        US-0008612
7255    FBI 1087: report on
        seizure of Lauren
        Handy’s cell phone
        4/1/22                      US-0008610
7256    USDC-DC 22-sw-85
        Search Warrant 4/1/22       US-0008580
7257    USDC-DC 22-cr-00096
        Arrest Warrant of John
        Hinshaw 3/24/22             US-0008578
7258    FBI 395: Advice of
        Rights                      US-0008577
7259    FBI 302: report on John
        Hinshaw 4/1/22              US-0008574
7260    FBI 302: redacted report
        3/31/22                     US-0008573
7261    USDC-DC 22-cr-00096
        Arrest Warrant of Lauren
        Handy 3/24/22 signed by
        FBI agent                   US-0008572
7262    FBI 302: report on
        Lauren Handy 3/31/22        US-0008568
7263    FBI 302: redacted report
        3/30/22                     US-0008567
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EXHIBIT            ITEM                BATES NO.         IDENTIFIED                  ADMITTED
   NO.                                              DATE      WITNESS           DATE     WITNESS
7264    FBI 302: arrest warrant of
        Paulette Harlow 3/30/22      US-0008566
7265    USDC-DC 22-sc-818
        Search Warrant 3/25/22       US-0008535
7266    USDC-DC 22-cr-00096
        Arrest Warrant of
        Jonathan Darnel 3/24/22      US-0008533
7267    USDC-DC 22-cr-00096
        Arrest Warrant of Joan
        Bell 3/24/22                 US-0008531
7268    USDC-DC 22-cr-00096
        Arrest Warrant of John
        Hinshaw 3/24/22              US-0008529
7269    USDC-DC 22-cr-00096
        Arrest Warrant of
        William Louis Goodman
        3/24/22                      US-0008527
7270    USDC-DC 22-cr-00096
        Arrest Warrant of Lauren
        Handy 3/24/22                US-0008525
7271    USDC-DC 22-cr-00096
        Arrest Warrant of Jay
        Smith 3/24/22                US-0008523
7272    USDC-DC 22-cr-00096
        Arrest Warrant of Jean
        Marshall 3/24/22             US-0008521
7273    USDC-DC 22-cr-00096
        Arrest Warrant of Paula
        Harlow 3/24/22               US-0008519
7274    FBI 1057: redacted report
        on clarification on          US-0008470
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EXHIBIT            ITEM                BATES NO.        IDENTIFIED                  ADMITTED
  NO.                                              DATE      WITNESS           DATE     WITNESS
          custodial interviews
          conducted 10/22/20 dated
          3/24/22
7275      Report on William Louis
          Goodman on temporary
          protection order           US-0008453
7276      FBI 302: digital copy of
          security video from the
          Alexandria Women’s
          Health Clinic 12/7/21      US-0008452
7277      Handwritten notes
          redacted                   US-0008448
7278      Handwritten notes          US-0008442
7279      FBI 302: redacted report   US-0008437
7280      Handwritten notes          US-0008433
7281      NCIC report of Lauren B
          Handy                      US-0008421
7282      FBI 1036: NCIC results
          for Lauren Handy           US-0008420
7283      Facebook page of Lauren
          Handy                      US-0008398
7284      Handwritten note           US-0008397
7285      FBI 302: redacted report
          6/9/21                     US-0008395
7286      Handwritten notes          US-0008390
7287      FBI 302: redacted report
          6/3/21                     US-0008385
7288      FBI 302: redacted report
          4/23/21                    US-0008384
7289      FBI 395: Advise of
          Rights                     US-0008383
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EXHIBIT           ITEM                BATES NO.         IDENTIFIED                  ADMITTED
   NO.                                             DATE      WITNESS           DATE     WITNESS
7290    FBI 302: interview of
        Ruth Heather Idoni
        2/3/21                      US-0008381
7291    FBI 302: interview of
        Lauren Handy 2/3/21         US-0008379
7292    FBI 302: interview of
        William Louis Goodman
        2/3/21                      US-0008377
7293    FBI 302: interview of
        Joan Bell 2/1/21            US-0008375
7294    Registered Vehicles,
        Wants and Warrants          US-0008357
7295    Redacted notes              US-0008356
7296    FBI 302: redacted patient
        medical information
        1/18/21                     US-0008354
7297    USDC-DC Warrant 20-
        sc-3431 dated 12/31/20      US-0008320
7298    Notes with names and
        incident of protests        US-0008313
7299    FBI 302: redacted report
        1/9/21                      US-0008311
7300    FBI 302: redacted report
        12/31/20                    US-0008309
7301    Redacted notes on
        meeting and protest         US-0008308
7302    FBI 302: redacted patient
        medical information
        12/30/20                    US-0008306
7303    Redacted notes on
        meeting and protest         US-0008305
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EXHIBIT           ITEM                BATES NO.         IDENTIFIED                  ADMITTED
   NO.                                             DATE      WITNESS           DATE     WITNESS
7304    FBI 302: redacted patient
        medical information
        12/21/20                    US-0008303
7305    FBI 302: interview report
        for Jay Smith 12/11/20      US-0008301
7306    FBI 302: interview report
        for John Hinshaw
        12/11/20                    US-0008299
7307    FBI Unclassified
        Physical 1A/1C Cover
        Sheet for Serial Export     US-0008298
7308    FBI 302: interview report
        of Paulette Harlow
        12/11/20                    US-0008297
7309    Handwritten notes           US-0008295
7310    FBI 302: redacted report
        11/24/20                    US-0008293
7311    Handwritten notes           US-0008291
7312    FBI 302: redacted report
        11/23/20                    US-0008289
7313    Handwritten notes           US-0008284
7314    FBI 302: redacted report
        11/23/20                    US-0008281
7315    FBI 302: redacted report
        11/3/20                     US-0008279
7316    Handwritten note            US-0008278
7317    FBI 302: redacted report
        10/29/20                    US-0008277
7318    FBI 1087: redacted report
        10/26/20                    US-0008275
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EXHIBIT           ITEM                BATES NO.         IDENTIFIED                  ADMITTED
   NO.                                             DATE      WITNESS           DATE     WITNESS
7319    FBI 1087: redacted report
        on thumb drive 10/26/20     US-0008274
7320    FBI 302: redacted report
        10/26/20                    US-0008272
7321    FBI 597: Receipt for
        Property 10/22/20           US-0008271
7322    FBI 1057: redacted report
        incident at the
        Washington Surgi-Clinic
        on 10/22/20                 US-0008266
7323    Press release for
        Immediate Release
        regarding Washington
        Surgi-Clinic dated
        10/22/20                    US-0008253
7324    Facebook page from
        Lauren Handy dated
        10/23/20 picture of
        arrests                     US-0008252
7325    Facebook page from
        Lauren Handy dated
        10/22/20                    US-0008250
7326    Ex. 13
        (241_txts_from_Handy
        phone ).pdf                 US-0008217
7327    Ex. 12 Abbie
        Augustine.06-08-21.pdf      US-0008194
7328    Ex. 11 2020-R-
        002384.03-24-22.MB.pdf      US-0008120
7329    Ex. 1 (#542.1).pdf          US-0008117
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EXHIBIT           ITEM               BATES NO.          IDENTIFIED                  ADMITTED
   NO.                                             DATE      WITNESS           DATE     WITNESS
7330    FBI 302: Interview for
        records of Herb Geraghty   US-0008116
7331    Redacted versions of
        financial statements and
        transactions               US-0007787
7332    FBI 1057: receipt of
        Google records             US-0009675
7333    FBI 302: Receipt of
        Verizon records            US-0009678
7334    FBI 302: Receipt of
        AT&T records               US-0009731
7335    FBI 302: Receipt of
        Verizon records            US-0009813
7336    FBI 302: Receipt of T-
        Mobile records             US-0009829
7337    FBI 302: Receipt of
        Bandwidth response         US-0009844
7338    FBI 302: Interview of      US-0009848 to
        Cassie Speck on 3/5/21     0009850
7339    FBI 302: Interview of
        Ken Suke Nakamura on
        3/5/21                     US-0009851
7340    FBI 1A/1C cover sheet:
        documents                  US-0009852
7341    FBI 302: Interview of
        Courtney Forbis on
        3/5/21                     US-0009853
7342    FBI 302: Interview of
        Melissa Mendez on          US-0009854 to
        3/5/21                     0009855
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EXHIBIT          ITEM                BATES NO.          IDENTIFIED                  ADMITTED
   NO.                                             DATE      WITNESS           DATE     WITNESS
7343    FBI 302: Interview of
        James Blackston on         US-0009864 to
        3/10/21                    0009866
7344    FBI 1A/1C cover sheet:
        documents and photos
        provided by James
        Blackston                  US-0009871
7345    FBI 302: Interview of
        Lauren Willnow             US-0009881
7346    FBI 1036: Record of
        information furnished by
        other agency               US-0009882
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VIII. SERIES 8000: AUDIO
EXHIBIT           ITEM              BATES NO.         IDENTIFIED                  ADMITTED
   NO.                                           DATE      WITNESS           DATE     WITNESS
8001    Carafem worker calling    US-0010114
        RE protesters harassing
        employees
8002    Person at Carafem calling US-0010115
        RE protesters
